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                                      Exhibit A

                                   Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly Administered)
                                                                      Ref. Docket No. ____

ORDER SHORTENING NOTICE PERIOD AND SCHEULING ZOOM HEARING WITH
   RESPECT TO THE DEBTORS’MOTION TO CONTINUE HEARING ON THE
 APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
    FOR ENTRY OF AN ORDER (I) AUTHORIZING THE RETENTION AND
EMPLOYMENT OF JEFFERIES LLC AS INVESTMENT BANKER PURSUANT TO 11
                     U.S.C. §§ 328(a) AND 1103(a)

                 Upon consideration of the motion (the “Motion to Shorten”)2 of the above-captioned

debtors and debtors-in-possession (collectively, the “Debtors”) for the entry of an order (this

“Order”): (a) shortening notice with respect to the Debtors’ Motion to Continue Hearing on

Objection to Application of the Official Committee of Unsecured Creditors for Entry of an Order

(I) Authorizing the Retention and Employment of Jefferies LLC as Investment Banker Pursuant to

11 U.S.C. §§ 328(a) and 1103(a) (the “Motion to Continue”); (b) setting a hearing via zoom on

the Motion to Continue before this Court via zoom on October 16, 2023 at 2:00 p.m. (prevailing

Eastern Time) (the “Hearing”); and (c) granting related relief, all as more fully set forth in the

Motion to Shorten; and upon consideration of the First Day Declaration; and the United States

District Court for the District of Delaware having jurisdiction over this matter pursuant to

28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to the Amended



1   A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
2   Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion to Shorten.



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Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and the Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and the Court having found that it may enter a final order consistent with

Article III of the United States Constitution; and the Court having found that venue of this

proceeding and the Motion to Shorten in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and due, sufficient, and proper notice of the Motion to Shorten having been provided under

the circumstances and in accordance with the Bankruptcy Rules and the Local Rules, and it

appearing that no other or further notice need be provided; and the Court having found cause for

the relief requested in the Motion to Shorten pursuant to Local Rule 9006-1(e); and the Court

having found and determined that the relief sought in the Motion to Shorten is in the best interests

of the Debtors, their estates, their creditors, their stakeholders, and all other parties in interest, and

that the legal and factual bases set forth in the Motion to Shorten establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefor;

                 IT IS HEREBY ORDERED THAT:

                 1.          The Motion to Shorten is GRANTED as set forth herein.

                 2.          The Motion to Continue will be considered by the Court via zoom on

October 16, 2023 at 2:00 p.m. (prevailing Eastern Time) (the “Hearing”).

                 3.          Any response or objection to the Motion to Continue may be filed in

advance of the Hearing or presented at the Hearing.

                 4.          This Court shall retain exclusive jurisdiction to hear and determine all

matters arising from or related to the interpretation, implementation, or enforcement of this Order.




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